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                                                                    ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                        DOC#:
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 11-9-20

 SAMUEL LOPEZ,

                                 Plaintiff,
                                                                    20-CV-2176 (RA)
                          v.
                                                                         ORDER
                  TH
 BRKN CENT 4           STREET LLC, et al.,

                                 Defendants.

RONNIE ABRAMS, United States District Judge:

         On September 30, 2020, at the request of the parties, the Court extended a stay of this action

until October 31, 2020, to allow the parties time to continue finalizing the terms of their settlement

in principle. See Dkt. 22. No later than November 16, 2020, the parties are directed to file a joint

letter updating the Court as to the status of the case.

SO ORDERED.
Dated:      November 9, 2020
            New York, New York

                                                    Ronnie Abrams
                                                    United States District Judge
